Case 23-19865-JKS           Doc 1550      Filed 03/25/24 Entered 03/25/24 17:56:00                      Desc Main
                                         Document     Page 1 of 4


  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)


  FRIEDMAN KAPLAN SEILER ADELMAN &
  ROBBINS LLP
  Robert J. Lack
  Andrew M. Englander
  Blair R. Albom
  1 Gateway Center, 25th Floor
  Newark, NJ 07102-5311
  (973) 877-6400
  rlack@fklaw.com
  aenglander@fklaw.com
  balbom@fklaw.com

  -and-

  QUINN EMANUEL URQUHART &
  SULLIVAN, LLP
  Alex Spiro (pro hac vice forthcoming)
  Susheel Kirpalani (pro hac vice forthcoming)
  Benjamin Finestone (pro hac vice forthcoming)
  Kenneth Hershey (pro hac vice forthcoming)
  51 Madison Avenue, 22nd Floor
  New York, NY 10010
  (212) 849-7000
  alexspiro@quinnemanuel.com
  susheelkirpalani@quinnemanuel.com
  benjaminfinestone@quinnemanuel.com
  kenhershey@quinnemanuel.com

  Co-Counsel to Adam Neumann, Flow Global
  Holdings LLC, and Nazare Asset Management LP

  In Re:                                                               Case No. 23-19865 (JKS)

  WEWORK INC., et al.,                                                 Chapter 11

               Debtors. 1                                              (Jointly Administered)



           1
              A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
 Debtors’ claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
 principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in
 these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC, 10300 SW Allen Blvd., Beaverton,
 OR 97005.


 4870-4708-5233.2
Case 23-19865-JKS        Doc 1550    Filed 03/25/24 Entered 03/25/24 17:56:00           Desc Main
                                    Document     Page 2 of 4

                    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

         PLEASE TAKE NOTICE that in accordance with Fed. R. Bankr. P. 9010(b), the
 undersigned enter an appearance in this case on behalf of Adam Neumann, Flow Global Holdings
 LLC, and Nazare Asset Management LP. Request is made that the documents filed in this case
 and identified below be served upon the following:

         ADDRESS:

 FRIEDMAN KAPLAN SEILER                             QUINN EMANUEL URQUHART &
 ADELMAN & ROBBINS LLP                              SULLIVAN, LLP
 Robert J. Lack                                     Alex Spiro
 Andrew M. Englander                                Susheel Kirpalani
 Blair R. Albom                                     Benjamin Finestone
 1 Gateway Center, 25th Floor                       Kenneth Hershey
 Newark, NJ 07102-5311                              51 Madison Avenue, 22nd Floor
 (973) 877-6400                                     New York, NY 10010
 rlack@fklaw.com                                    (212) 849-7000
 aenglander@fklaw.com                               alexspiro@quinnemanuel.com
 balbom@fklaw.com                                   susheelkirpalani@quinnemanuel.com
                                                    benjaminfinestone@quinnemanuel.com
                                                    kenhershey@quinnemanuel.com


         DOCUMENTS:
         ☒ All notices entered pursuant to Fed. R. Bankr. P. 2002.

         ☒ All documents and pleadings of any nature.



         PLEASE TAKE FURTHER NOTICE that, pursuant to Section 1109(b) of the
 Bankruptcy Code and Bankruptcy Rule 3017(a), this request includes not only the notices and
 papers referred to in the Bankruptcy Rules, but also includes, without limitation, any notice,
 motion, proposed order, application, petition, pleading, request, complaint, demand,
 memorandum, affidavit, declaration, presentment, order to show cause, disclosure statement, and
 plan of reorganization, whether formal or informal, whether written or oral, and whether
 transmitted or conveyed by mail, courier service, hand-delivery, telephone, facsimile, electronic
 mail, or otherwise, that is filed or given in connection with the above-captioned cases and the
 proceedings therein.

                                                2

 4870-4708-5233.2
Case 23-19865-JKS        Doc 1550     Filed 03/25/24 Entered 03/25/24 17:56:00               Desc Main
                                     Document     Page 3 of 4



         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any
 prior or later appearance, pleading, or claim waives: (i) any right to have final orders in non-core
 matters entered only after de novo review by a district court judge; (ii) any right to trial by jury in
 any proceeding so triable in these cases or any case, controversy, or proceeding related to the
 above-captioned cases; (iii) any right to have the United States District Court withdraw the
 reference in any matter subject to mandatory or discretionary withdrawal; (iv) an election of
 remedies; or (v) any other substantive or procedural right.

         PLEASE TAKE FURTHER NOTICE that this Notice of Appearance is without
 prejudice to any other rights, claims, actions, defenses, setoffs, or recoupments under agreements,
 in law, in equity, or otherwise, all of which rights, claims, actions, defenses, setoffs, and
 recoupments against a debtor or any other entity either in the above-captioned cases or in any other
 action are expressly reserved.

                    [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                   3

 4870-4708-5233.2
Case 23-19865-JKS        Doc 1550    Filed 03/25/24 Entered 03/25/24 17:56:00       Desc Main
                                    Document     Page 4 of 4



 Dated: March 25, 2024                      FRIEDMAN KAPLAN SEILER ADELMAN &
                                            ROBBINS LLP

                                             s/ Robert J. Lack
                                             Robert J. Lack
                                             Andrew M. Englander
                                             Blair R. Albom
                                             1 Gateway Center, 25th Floor
                                             Newark, NJ 07102-5311
                                             (973) 877-6400
                                             rlack@fklaw.com
                                             aenglander@fklaw.com
                                             balbom@fklaw.com

                                             -and-

                                             QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
                                             Alex Spiro (pro hac vice forthcoming)
                                             Susheel Kirpalani (pro hac vice forthcoming)
                                             Benjamin Finestone (pro hac vice forthcoming)
                                             Kenneth Hershey (pro hac vice forthcoming)
                                             51 Madison Avenue, 22nd Floor
                                             New York, NY 10010
                                             (212) 849-7000
                                             alexspiro@quinnemanuel.com
                                             susheelkirpalani@quinnemanuel.com
                                             benjaminfinestone@quinnemanuel.com
                                             kenhershey@quinnemanuel.com

                                             Co-Counsel to Adam Neumann, Flow Global
                                             Holdings LLC, and Nazare Asset Management
                                             LP




                                               4

 4870-4708-5233.2
